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DNJ-Cr-021 (09/2017)




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA                    Hon. Madeline Cox Arleo

                        v.
                                              Criminal No. 19-00146 (MCA)
 Ming Lu Li

                                              SENTENCING SUBMISSION NOTICE
                   Defendant(s).
                                              OF THE UNITED STATES




        Please be advised that, on April 30, 2019, the United States submitted sentencing

materials to the Court in this case concerning the defendant.


                                               CRAIG CARPENITO
                                               United States Attorney



                                        By:     /s/   Margaret Mahoney
                                                Assistant U.S. Attorney
